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                           UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON

                                              *
 In re: Tagnetics, Inc.                       *         Case No. 19-30822
                                              *
                                              *         Judge Humphrey
                                                        Chapter 7


  TAGNETICS’ MOTION TO STAY THIS COURT’S OCTOBER 25, 2019 ORDER [Dkt.
          No. 119] AND FOR APPROVAL OF A SUPERSEDEAS BOND


        Alleged Debtor Tagnetics, Inc. (“Tagnetics”), by and through its undersigned counsel and

 pursuant to Rule 8007 of the Federal Rules of Bankruptcy Procedure, moves this Court for an order

 staying its Order Granting in Part Tagnetics’ Motion to Enforce Settlement Agreement and

 Ordering Other Matters [Dkt. No. 119] (the “Order”) and approving a supersedeas bond. In

 support of this Motion, Tagnetics states as follows:

        1.      On October 25, 2019, this Court issued its Order Granting in Part Tagnetics’

 Motion to Enforce Settlement Agreement and Ordering Other Matters [Dkt. No. 119].

        2.      According to the terms of the Order, Tagnetics is required, among other things, to

 make the initial payment under the settlement agreement the Court found the parties entered into

 within three (3) business days of the Court’s Order.

        3.      Contemporaneous with the filing of this Motion, Tagnetics has filed (or will file) a

 Notice of Appeal.

        4.      Tagnetics respectfully requests that this Court stay its October 25, 2019 Order with

 respect to the payment schedule set forth therein, pending the outcome of Tagnetics’ appeal.

        5.      Tagnetics also respectfully requests that this Court approve a supersedeas bond in

 the amount of $180,000, which is the total value of the first two payments required pursuant to the


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 Court’s Order. Tagnetics understands and acknowledges that additional payments are required

 pursuant to the Court’s Order, but it is reasonable to expect that the appeal will be completed by

 the time the third payment(s) become due under the Order 1 and, therefore, they should not and do

 not need to be included in the amount of the supersedeas bond.

           6.      Rule 8007(a) of the Federal Rules of Bankruptcy provides that a party must first

 move in the Bankruptcy Court to seek “a stay of a judgment, order, or decree of the bankruptcy

 court pending appeal” and to seek “the approval of a supersedeas bond.” Bankr. Rule 8007(a)(1).

 Rule 8007(a) further states that the motion to stay “may be made either before or after the notice

 of appeal is filed.”

           7.      In accordance with Rule 8007(a) of the Federal Rules of Bankruptcy, Tagnetics

 respectfully requests that this Court stay its October 25, 2019 Order (Dkt. No. 119] and, as security

 for the stay, approve a supersedeas bond in the amount of $180,000.


                                           Respectfully submitted,


        /s/ Stephen B. Stern                                /s/ Robert R. Kracht
 Stephen B. Stern, Admitted Pro Hac Vice                    Robert Kracht (#0025574)
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 Counsel for Alleged Debtor                                 Counsel for Alleged Debtor
 Tagnetics, Inc.                                            Tagnetics, Inc.




 1
     The third payment(s) is/are due within 18 months of the entry of the Order.


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                               CERTIFICATE OF SERVICE

         I hereby certify that on October 30, 2019, a copy of the foregoing Motion to Stay This
 Court’s October 25, 2019 Order [Dkt. No. 119] and for Approval of a Supersedeas Bond was
 served (i) electronically on the date of filing through the Court’ s ECF System on all ECF
 participants registered in this case at the email address registered with the court and (ii)
 electronically by email on counsel for Tagnetics, Inc., Stephen B. Stern, Esq.
 (Stern@kaganstern.com) and (iii) by email and ordinary U.S. Mail on October 30, 2019
 addressed to:

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                                                           /s/ Robert R. Kracht
                                                           Robert R. Kracht (#0025574)




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